              Case 2:93-cr-00196-RSL Document 86 Filed 03/16/21 Page 1 of 4




 1
 2
 3
 4
 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                                Case No. CR93-196-RSL

10                          Plaintiff,                         ORDER DENYING
11                     v.                                      DEFENDANT’S MOTION
                                                               FOR RELIEF FROM
12    DAVID MICHAEL HENSEL,                                    RESTITUTION AND
13                          Defendant.                         EXPIRED JUDGMENT LIEN

14
15         This matter comes before the Court on defendant’s pro se “Motion for Relief from
16 Restitution and Expired Judgment Lien.” Dkt. # 82. Having reviewed the memoranda of the
17 parties and the record contained herein, the Court finds as follows:
18                                       I.    BACKGROUND
19         On August 6, 1993, the Court sentenced defendant on a conviction of seven counts of
20 armed bank robbery. Dkts. # 28, # 82 at 2, # 83 at 2. For this conviction, the Court originally
21 imposed a sentence of 180 months in prison and restitution in the amount of $912,824.34. Id.
22 Defendant was released from prison on April 11, 2006. Dkt. # 84-1. As of March 10, 2021,
23 defendant still owed $194,974.35 in restitution. Dkt. # 84-2.
24         After entry of the 1993 judgment, the government recorded a lien set to expire on August
25 6, 2013, twenty years after the date of judgment. Dkts. # 82 at 11, # 83 at 2. At the time the
26 government initially recorded its lien, the Victim and Witness Protection Act of 1982 (the
27 “VWPA”) set the expiration of a criminal judgment lien at “twenty years after the entry of the
28 judgment,” or “upon the death of the individual fined.” 18 U.S.C. § 3613(b) (amended 1996).
     ORDER DENYING DEFENDANT’S
     MOTION FOR RELIEF - 1
                Case 2:93-cr-00196-RSL Document 86 Filed 03/16/21 Page 2 of 4




 1 Congress later passed the Mandatory Victim Restitution Act of 1996 (the “MVRA”), which
 2 amended the VWPA. The MVRA extended the restitution liability period to last until “the later
 3 of 20 years from the entry of judgment or 20 years after the release from imprisonment of the
 4 person ordered to pay restitution.” 1 18 U.S.C. § 3613(b) (emphasis added). Thus, under the
 5 MVRA’s extended restitution liability period, an individual released in 2006 subsequent to the
 6 entry of a judgment would be liable until 2026. In August 2018, the government re-recorded its
 7 lien. Dkt. # 82 at 12. The Court issued a writ of garnishment against defendant in September
 8 2018, Dkt. # 84-3, and defendant requested a hearing because he believed the government’s
 9 action was in error. See generally Request for Hearing, United States v. Hensel, No. 2:18-cv-
10 01549-RAJ (W.D. Wash. 2018) (Dkt. # 6). In the garnishment action, the Court denied
11 defendant’s request for a hearing, Dkt. # 84-4, and ultimately issued a continuing garnishment
12 order on November 24, 2020. Dkt. # 84-5. Defendant did not appeal from the Court’s orders.
13                                            II.    DISCUSSION
14          The Court finds that defendant’s motion for relief fails for the two reasons proffered by
15 the government: (1) claim preclusion bars defendant’s motion for relief; and (2) Ninth Circuit
16 precedent forecloses defendant’s argument. See Dkt. # 83 at 4–11.
17          First, defendant’s motion raises the same argument that the Court previously found
18 unavailing in the garnishment action, namely, that his liability to pay restitution expired in 2013
19 based on the law in effect at the time of his sentencing, under the theory that the MVRA’s
20 extension of the restitution liability period does not apply to him because his sentencing
21 predated the MVRA. Compare Request for Hearing, United States v. Hensel, No. 2:18-cv-
22 01549-RAJ (W.D. Wash. 2018) (Dkt. # 6) with Dkt. # 82. The Court previously rejected
23 defendant’s argument when it denied defendant’s motion for a hearing and issued a continuing
24 garnishment order, see Dkts. # 84-4, # 84-5, and defendant did not appeal from the Court’s
25 orders in the garnishment action. The Court agrees with the government that claim preclusion
26
            1
            Although not pertinent to defendant’s claim for relief, the MVRA also provides that [i]n the
27
   event of the death of the person ordered to pay restitution, the individual’s estate will be held responsible
28 for any unpaid balance of the restitution amount.” 18 U.S.C. § 3613(b).
     ORDER DENYING DEFENDANT’S
     MOTION FOR RELIEF - 2
              Case 2:93-cr-00196-RSL Document 86 Filed 03/16/21 Page 3 of 4




 1 applies here because there are: “(1) an identity of claims; (2) a final judgment on the merits; and
 2 (3) identity or privity between the parties.” Dkt. # 83 at 4–9 (applying the elements of claim
 3 preclusion to the facts of the instant motion). An “identity of claims” exists because: the
 4 government’s right to enforce defendant’s restitution order through 2026—established through
 5 the Court’s ruling in the garnishment action—would be destroyed by a contrary decision here;
 6 the same evidence has been presented in both actions (defendant’s sentencing date, the criminal
 7 judgment and restitution order, the MVRA’s extension of the restitution liability period, and
 8 defendant’s 2006 release from prison); the two actions involve the same alleged infringement
 9 regarding the Ex Post Facto Clause of the Constitution and application of the MVRA’s extended
10 restitution liability period; and the actions arise out of the same transactional nucleus of facts
11 (defendant’s conviction and restitution order, the MVRA’s extension of the restitution liability
12 period, defendant’s 2006 release from prison, and the government’s efforts to enforce its
13 restitution order). See Hells Canyon Pres. Council v. U.S. Forest Serv., 403 F.3d 683, 690 (9th
14 Cir. 2005) (describing the factors for determining whether an “identity of claims” exists). A final
15 judgment on the merits occurred when the Court entered a “Continuing Garnishment Order.”
16 See Dkt. # 84-5; United States v. Swenson, 971 F.3d 977, 982 (9th Cir. 2020) (“a disposition
17 order [under 28 U.S.C. § 3205(c)(7) . . . concludes litigation of the writ on the merits and is thus
18 a final judgment for purposes of appeal.”). And the same parties who litigated the garnishment
19 action are involved in the present motion. Therefore, because the Court has already considered
20 and rejected defendant’s claim, defendant’s claim is barred.
21         Second, even if defendant’s claim were not barred by claim preclusion, Ninth Circuit
22 precedent dooms defendant’s argument. The Ninth Circuit has held that the MVRA’s extension
23 of the restitution liability period applied to another defendant’s 1993 judgment and comported
24 with the Ex Post Facto Clause of the Constitution. United States v. Blackwell, 852 F.3d 1164,
25 1166 (9th Cir. 2017) (per curiam). “After the MVRA was enacted, [the defendant] remained
26 liable for the same amount of fines and restitution as he was prior to the enactment. The MVRA
27 merely increased the time period over which the government could collect those fines and
28 restitution.” Id. Because this “procedural” change extending the restitution liability period “did
     ORDER DENYING DEFENDANT’S
     MOTION FOR RELIEF - 3
                Case 2:93-cr-00196-RSL Document 86 Filed 03/16/21 Page 4 of 4




 1 not affect [the defendant’s] substantive rights,” the Ninth Circuit held that there was no Ex Post
 2 Facto Clause violation and it was appropriate to apply the MVRA’s extended restitution liability
 3 period. Id. Accordingly, in light of binding Ninth Circuit precedent, defendant’s argument also
 4 fails on the merits. 2
 5                                          III.    CONCLUSION
 6          For all of the foregoing reasons, the Court DENIES defendant’s motion for relief (Dkt.
 7 # 82).
 8          IT IS SO ORDERED.
 9          DATED this 16th day of March, 2021.
10
11
12                                                        A
                                                          Robert S. Lasnik
13                                                        United States District Judge
14
15
16
17          2
               Defendant additionally argues that the Ninth Circuit’s Blackwell decision did not consider
18   language regarding the MVRA’s prospective application, and he cites two unreported Eleventh Circuit
     decisions holding that district courts erred in applying the MVRA’s extension of the restitution liability
19   period to defendants convicted before 1996. Dkt. # 82 at 3 (citing United States v. Walker, 698 F. App’x
     584, 585 (11th Cir. 2017) (per curiam); United States v. Duke, 739 F. App’x 970, 972–73 (11th Cir.
20   2018) (per curiam)). Contrary to the government’s assertion in its response, see Dkt. # 83 at 11, both of
21   these Eleventh Circuit cases interpreted the MVRA language upon which defendant relies: that MVRA
     amendments will “be effective for sentencing proceedings in cases in which the defendant is convicted
22   on or after the date of enactment” of the MVRA, i.e., after April 24, 1996. Pub. L. No. 104-132, § 211,
     110 Stat. 1214, 1241 (1996) (emphasis added); see Walker, 698 F. App’x at 585; Duke, 739 F. App’x at
23
     972. Nevertheless, the Court cannot set aside the Ninth Circuit’s decision. See Hart v. Massanari, 266
24   F.3d 1155, 1170 (9th Cir. 2001) (“A district judge may not respectfully (or disrespectfully) disagree with
     his learned colleagues on his own court of appeals who have ruled on a controlling legal issue.”).
25   Moreover, the Court agrees with the reasoning outlined in the order that denied defendant’s motion for a
26   hearing in the garnishment action. See Dkt. # 84-4 at 3 (concluding that the MVRA language defendant
     relies upon pertains to “sentencing proceedings,” not to post-judgment proceedings enforcing a
27   restitution order after it has been imposed).
28
     ORDER DENYING DEFENDANT’S
     MOTION FOR RELIEF - 4
